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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
In re:                                                               )   Chapter 11
                                                                     )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                           )   Case No. 23-11469 (BLS)
                                                                     )
                                       Debtors.                      )   (Jointly Administered)
                                                                     )   Re: Docket No. 681

            CERTIFICATE OF NO OBJECTION (NO ORDER REQUIRED)
    REGARDING THE FIRST MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
       AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR
       THE PERIOD FROM SEPTEMBER 18, 2023 THROUGH OCTOBER 31, 2023

                   The undersigned hereby certifies that:

                   1.           Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel to the above

debtors and debtors in possession (collectively, the “Debtors”), filed and served the First

Monthly Application for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl

& Jones LLP, as Counsel for the Debtors and Debtors in Possession, for the Period from

September 18, 2023 through October 31, 2023 (the “Application”) [Docket No. 681] filed on

December 18, 2023.

                   2.           Objections to the Application were to be filed and served no later than

January 8, 2024 by 4:00 p.m. (prevailing Eastern Time). The undersigned has caused the

Bankruptcy Court’s docket in this case to be reviewed, and no answer, objection or other

responsive pleadings to the Application appears thereon. Additionally, no objections to the

Application have been received by the undersigned counsel.


1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.



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                   3.           Pursuant to the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals (the “Order”) [Docket No. 242], the Debtors

are authorized to pay PSZJ $745,224.00 which represents 80% of the fees ($931,530.00) and

$189,582.80, which represents 100% of the expenses for the period from September 18, 2023

through October 31, 2023, upon the filing of this certificate of no objection and without the need

for entry of a Bankruptcy Court order approving the Application.


Dated: January 10, 2024                              PACHULSKI STANG ZIEHL & JONES LLP


                                                     /s/ Laura Davis Jones
                                                     Laura Davis Jones (DE Bar No. 2436)
                                                     David M. Bertenthal (CA Bar No. 167624)
                                                     Timothy P. Cairns (DE Bar No. 4228)
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                                                     Counsel for the Debtors and Debtors-in-Possession




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